               Case 1:21-cv-11794-ADB Document 29 Filed 03/12/22 Page 1 of 4


                                 UNrrpn Srares Drsrrucr Counr
                                                               for the

                                                       District of Massachusetts

                                                       Eastern Division



     MICHAEL BUSH; LINDA TAYLOR; LISA                                    Case   No.   l:21-cv-11794-ADB
  TIERNAN; KATE HENDERSON; ROBERT EGRI;
     KATALIN EGRI; ANITA OPTIZ; MONICA                           )
     GRANFIELD, ANN LINSEY HURLEY; IAN                            )

    SAMPSON; SUSAN PROVENZANO; JOSEPH                            )
                                                                  )
               PROVENZANO,
                                                                  )
                Pro Se Plaintffi
                                                                 )
                            VS                                   )
                                                                 )
 LINDA FANTASIA; MARTHA FEENEY-PATTEN;                           )
      ANTHONY MARIANO; CATHERINE                                 )
  GALLIGAN; JEAN JASAITIS BARRY; PATRICK                         )
    COLLINS; DAVID ERICKSON; TIMOTFIY                            )
  GODDARD; TOWN OF CARLISLE; JOHN DOE;                           )
                       JANE DOE                                  )
                        Defendants                               )




    EMERGENCY MOTION TO STRIKE DEFENDANTS' EX PARTE
         LETTER TO THE COURT FROM THE DOCKET
        On March 11,2022 the Defendants' counsel electronically filed an ex parte letter of the same date with this

Court regarding this case. As that letter bears no relation to the Federal or Local Rules of Civil procedure nor cites

any law or legal argument supporting its submission to the Court, we undersigned pro Se plaintiffs would like to

briefly bring some relevant points to the Court's attention.

        Just as the Defendants' counsel neglected to and/or avoided conferring with any of us before    filing the

Defendants' defective Motion To Dismiss, the Defendants' counsel has in this instance also made no attempt to

confer with any of us before filing his latest letter with this Court. Thus, we are filing this emergency motion

without conferring with the Defendants' counsel.

        In his ex parte letter, the Defendants' counsel provides no explanation as to why he is submitting it to the

Court or its relevance to this case. It seems the Defendants' counsel is hoping to mislead the Court into concluding

this case is moot. It is anything but moot, a mere few of many reasons being that:
                  Case 1:21-cv-11794-ADB Document 29 Filed 03/12/22 Page 2 of 4

             l.   The Defendants' cottnsel contradicts his own asseftions in his letter by claiming the Board     of

                  Health Defendants "rescitlded" their face mask mandate' As is clear to see in those Defendants'

                  orvn statement their couusel quotes in his letter. they merely "lifted" their mandate-they failed to

                  acknorvledge it rvas uttlarvfulto begin rvith.

             2.   Whether intentionally or negligently, the Defendants' counsel incorrectly assefts in his letter that

                  there is only one face tnask tlandate at issue in tliis case' That is false, as both our Complaint and

                  Opposition to the Defertdants' Motion to Dismiss make abundantly clear.

             3.   In our Corrplaint lve seek declaratory and irljunctive relief as rvell as con-lpensatory, nomitlal,

                  presumed. arrd/or punitive dantages to be awarded. Thus, the Defendants' counsel's letter and the

                  status of any face mask mandates are utterl.v irnrnaterial and impertinent.

             4.   Were cases to be disrnissed because defendants cease or temporarily refrain from irnproper

                  conduct. such reasoning u'ould render 42 U.S.C. S1983 meaningless and useless arrd would likely

                  render many   if not most lau,sr-rits pointless rnerely because the eveuts in questiou occurred in the

                  past.

         Wherefore, the undersigned Pro Se Plaintiffs request the Cor.rrt strike the Defendants' counsel's ex par-te

letter to the Cor.rft from the docket.




         Date: March 12,2022                                          Respectful ly submitted,




                                                                      Michael Bush
                                                                      280 Lowell Street
                                                                      Carlisle MA 01741
                                                                      Bmoc5l@verizon.net
                                                                      Phone: (978)734-3323




                          March 11,2022                                /s/ Ann Linsey Hurley, Pro Se

                                                                      Ann Linsey Hurley
                                                                      10 Half Moon Hill
                                                                      Acton MA 01720
                                                         ol!\14      \   \r( tgroS{"rA
                                                                 -                   "111
                                                                     tdfnn"^s-l
                                                                     bulaj_-stl
              -g-eo€                          -rs-       -d
          .          $,1 "prol.\                                                 w
                                                             lnLtq       W t 1f\!O
                                                                  u7     (wa   !1,\r,l   ry
          -Yfa€,zl                                           L\ffi)IhA$ld      u){ut
                         lMurl              5 -ad
                                                       /Vl\re?
                                                                         -v
                                          I ,rt to vtw
                                         -fsgs          t"
                                                    ,.^r, tl8
                                                 t.il           x -flarrY
   \fo.5,/l 11'nW )5                      "tC                   E )'p'o
                                                l+lro          v4 t a-tlr1aaa
                                                   anrd!- CoornCtt rn 6td
               "2,7G'Z
                                                               nb20        fn)1y)-vyt
                          lfn-mt1 "j €zC                         -ha ,-T,fTl
                                       /5tto €u /r1 r)1dt:
                                                   r4wh ofi
                                              ] r\/ tq          dc'o
                                              t ?g-q?        {d;l    EoX
<za1 lt   -]elnd T *t,
              Case 1:21-cv-11794-ADB Document 29 Filed 03/12/22 Page 3 of 4
               Case 1:21-cv-11794-ADB Document 29 Filed 03/12/22 Page 4 of 4
                                        CERTIFICATE OF SERVICE
I, Michael Bush, hereby certifl, that I have, on this l2thday of March, 2022, electronically served a copy of the
foregoing and any accompanying document(s) pursuant to Fed. Rule Civ' Proc' 5(b)(2)(E) and Local Rule 5'2 upon
the following:
                                          John J. Davis, BBO #115890
                                       10 Post   Office Square, Suite I 100N
                                                 Boston, MA 02109


                                                                                Pro Se
                                                         MichaelBush
